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 1    WALTER R. CANNON, ESQ.
      Nevada Bar No. 001505
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      9950 West Cheyenne Avenue
 3    Las Vegas, Nevada 89129
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 4    Telephone: (702) 384-4012
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 5
      Attorney for Defendant
 6    Lowe's Home Centers, LLC
      d/b/a Lowe's Store #0784
 7
                               UNITED STATES DISTRICT COURT
 8
                                 FOR THE DISTRICT OF NEVADA
 9

10
      TANYA COATS,                             )
11                                             )
             Plaintiff,                        )
12                                             )
      vs.                                      )   Case No. 2: 18-cv-0 1332-GMN-EJY
13                                             )
      LOWE'S HOME CENTERS, LLC, a              )
14    Foreign Limited-Liability Company, d/b/a )
      LOWE'S STORE #0784, a Domestic           )
15    Corporation; DOES I through X; and ROE )
      CORPORATIONS I through X, inclusive, )
16                                             )
             Defendants.                       )
17

18          STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE

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     1            IT IS HEREBY STIPULATED AND AGREED by and between counsel for the Plaintiff,

 2        Tanya Coats, BOYD B. MOSS, III, ESQ., of MOSS BERG INJURY LA WYERS, and counsel

 3        for the Defendant, Lowe's Home Centers, LLC, WALTER R. CANNON, ESQ., of OLSON

 4        CANNON GORMLEY & STOBERSKI, that the above-entitled action may be dismissed with

 5        prejudice; each side to bear their own costs and attorney's fees.

 6               DATED this~~ay of 6)€!12?'.b=-t};:___            , 2020.
 7

 8                                                        OLSON CANNON GORMLEY & STOBERSKI

 9

10                                                   BY:_.......,__~---=-----~---
                                                       WALTER R. CANNON, ESQ.
11                                                     Nevada Bar No. 1505
                                                       9950 W. Cheyenne A venue
12                                                     Las Vegas, Nevada 89129
                                                       Attorney for Defendant
13

14
                                                       ORDER
15
                        IT IS SO ORDERED:
16                      Dated this 20
                                   __ day of October, 2020.
17
                                       UNITED STATES DISTRICT JUDGE
18
                                                        ________________________________
19                                                      Gloria M. Navarro, District Judge
                                       DATED: _ _ _ _ _ _ _ _ _ __
                                                        UNITED STATES DISTRICT COURT
20

21              Submitted by:

22              OLSON CANNON GORMLEY & STOBERSKI



                  ~
23

24       BY:
                WALTER R. CANNON, ESQ.
25              Nevada Bar No. 001505
                9950 W. Cheyenne Avenue
26              Las Vegas, Nevada 89129
                Attorney for Defendant
27

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